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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  UNITED STATES OF AMERICA,                        §
                                                   §
  v.                                               §   Civil Action No. 4:20-CR-00358
                                                   §   Judge Mazzant
  NEERAJ JINDAL (1)                                §
  JOHN RODGERS (2)                                 §


                          MEMORANDUM OPINION AND ORDER

        Pending before the Court is Defendant Neeraj Jindal’s Motion to Dismiss Count One of

 the First Superseding Indictment (Dkt. #36), and Defendant John Rodgers’ Motion to Dismiss the

 Superseding Indictment (Dkt. #45). Having considered the motions and the relevant pleadings,

 the Court finds the motions should be DENIED.

                                  FACTUAL BACKGROUND

        One December 12, 2020, the Government filed an indictment against Neeraj Jindal

 (“Jindal”) (Dkt. #1), and on April 15, 2021, the Government filed the First Superseding Indictment

 (hereinafter “Indictment”) as to Neeraj Jindal and John Rodgers (“Rodgers”) (Dkt. #21). Pursuant

 to the Indictment, Defendants were charged with violating the following statutes: 1) 15 U.S.C. § 1

 (Antitrust Conspiracy: Price Fixing under the Sherman Act); 2) 18 U.S.C. § 371 (Conspiracy to

 Commit Offense); and 3) 18 U.S.C. §§ 1505 and 2 (Obstruction of Proceedings before the Federal

 Trade Commission).

        The complexity of this case warrants a recitation of the events leading up to the Indictment.

 Jindal owned a therapist staffing company, which the Indictment refers to as “Company A” (Dkt.

 #21 ¶ 5). Rodgers was a physical therapist who contracted with Company A and was a clinical

 director of Company A (Dkt. #21 ¶ 6). Rodgers reported to Jindal in his work (Dkt. #21 ¶ 6).
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        Company A contracted with physical therapists (“PTs”) and physical therapist assistants

 (“PTAs”) to provide in-home physical therapy to patients (Dkt. #21 ¶ 7). Therapist staffing

 companies such as Company A receive patient referrals from home health agencies and act as

 “middlemen,” staffing their PTs or PTAs to provide in-home patient care (Dkt. #21 at ¶¶ 1–2).

 Therapist staffing companies compete with each other to contract with or employ PTs and PTAs

 (Dkt. #21 ¶ 4). Each PT and PTA who contracted with Company A had set prices (a “rate” or “pay

 rate”) that Company A paid them for providing in-home care visits (Dkt. #21 ¶ 7). Company A

 billed home health agencies set prices (the “bill rate”) for providing the services (Dkt. #21 ¶ 7).

 The difference between the pay rates that Company A paid to its PTs and PTAs and the bill rates

 that it billed to the home health agencies constituted Company A’s margin (Dkt. #21 ¶ 7).

        Count One of the Indictment charges Defendants with violating 15 U.S.C. § 1 of the

 Sherman Act. More specifically, Count One states:

        From in or around March 2017 to in or around August 2017 (the Relevant Period”),
        in the Eastern District of Texas and elsewhere, Jindal, Rodgers, and co-conspirators
        knowingly entered into and engaged in a conspiracy to suppress competition by
        agreeing to fix prices by lowering the pay rates to PTs and PTAs. The conspiracy
        engaged in by Jindal, Rodgers, and co-conspirators was a per se unlawful, and thus
        unreasonable, restraint of interstate trade and commerce in violation of Section 1
        of the Sherman Act (15 U.S.C. § 1).

 (Dkt. #21 ¶ 11).

        The Indictment alleges that on March 10, 2017, Rodgers, acting on behalf of Jindal and

 Company A, texted with the owner of a competing staffing company, Individual 2, regarding the

 rates that Company A and Individual 2’s staffing company paid their PTs and PTAs (Dkt. #21 ¶

 12(a)). During the text exchange, Rodgers texted Individual 2, asking, “[h]ave you considered

 lowering PTA reimbursement” and stating, “I think we’re going to lower PTA rates to $45” (Dkt.

 #21 ¶ 12(a)). Individual 2 responded, “[y]es I agree” and “I’ll do it with you” (Dkt. #21 ¶ 12(a)).



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 Rodgers responded with a “thumbs up” emoji and texted, “I feel like if we’re all on the same page,

 there won’t be a bunch of flip flopping and industry may stay stable” (Dkt. #21 ¶ 12(a)). According

 to the Indictment, Rodgers reported back to Jindal regarding this text message conversation with

 Individual 2 (Dkt. #21 ¶ 12(a)).

        The Indictment further alleges that, following the text exchange between Rodgers and

 Individual 2, Jindal texted the owners of other therapist staffing companies to recruit additional

 competitors to join the conspiracy to collectively lower rates (Dkt. #21 ¶ 12(b)). Specifically, on

 March 10, 2017, Jindal separately texted at least four other owners of therapist staffing companies,

 saying “I am reaching out to my counterparts about lowering PTA rates to $45. What are your

 thoughts if we all collectively do it together?” (Dkt. #21 ¶ 12(b)). Jindal further texted each owner

 that he had Individual 2’s company “on board” (Dkt. #21 ¶ 12(b)).

        The Indictment then references another text exchange between Rodgers and Individual 2

 that took place on March 17, 2017 (Dkt. #21 ¶ 12(c)). Rodgers stated: “FYI we made rate changes

 effective next payroll Monday decreasing PT’s and PTA’s” (Dkt. #21 ¶ 12(c)). Individual 2

 responded: “Well I can join in where did u go” (Dkt. #21 ¶ 12(c)). According to the Indictment,

 Rodgers and Individual 2 subsequently exchanged text messages regarding their companies’ pay

 rates for PTs and PTAs (Dkt. #21 ¶ 12(c)). And, pursuant to the agreement, Company A thereafter

 paid lower rates to certain PTs and PTAs (Dkt. #21 ¶ 12(d)).

        On May 25, 2021, Jindal filed his Motion to Dismiss Count One of the First Superseding

 Indictment (Dkt. #36). On June 18, 2021, Rodgers filed his Motion to Dismiss the Superseding

 Indictment (Dkt. #45). In Rodgers’ motion, he incorporated the arguments in Jindal’s motion and

 added a separate argument alleging the Government’s prosecution of him breached an oral

 agreement (Dkt. #45). The United States Responded to Jindal’s Motion on June 22, 2021 (Dkt.



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 #46) and responded to Rodgers’ Motion on July 16, 2021 (Dkt. #48). Jindal filed a Reply on July

 6, 2021 (Dkt. #47). Rodgers filed a Reply on July 30, 2021 (Dkt. #50).

                                  STATUTORY BACKGROUND

        Since Count One of the Indictment charges Defendants with violating § 1 the Sherman Act,

 the Court finds it helpful to provide an overview of the Sherman Act before turning to Defendants’

 arguments. The Sherman Act prohibits “[e]very contract, combination in the form of trust or

 otherwise, or conspiracy, in restraint of trade or commerce among the several

 States.” 15 U.S.C. § 1. The Supreme Court, however, “has not taken a literal approach” in

 interpreting this language. Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006). Instead, the Supreme

 Court has found § 1 “outlaw[s] only unreasonable restraints.” State Oil Co. v. Khan, 522 U.S. 3,

 10 (1997) (emphasis added). In determining whether a restraint is unreasonable, and thus

 unlawful, courts use one of two rules of decision. MM Steel, L.P. v. JSW Steel (USA) Inc., 806

 F.3d 835, 848 (5th Cir. 2015).

        Most restraints under § 1 are analyzed under the so-called rule of reason. Arizona v.

 Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 343 (1982). As its name suggests, the rule of reason

 requires a context-specific inquiry to “distinguish[] between restraints with anticompetitive effect

 that are harmful to the consumer and restraints stimulating competition that are in the consumer’s

 best interest.” Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007). Rule

 of reason analysis involves “analyzing the facts peculiar to the business, the history of the restraint,

 and the reasons why it was imposed.” Nat’l Soc’y of Prof. Eng’r v. United States, 435 U.S. 679,

 692 (1978).

        A smaller group of restraints under § 1 are at the outset “deemed unlawful per se”

 dispensing with the need for case-by-case evaluation. Kahn, 522 U.S. at 10. These restraints are



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 unreasonable per se because the conduct at issue is “manifestly anticompetitive” and “always or

 almost always tend[s] to restrict competition and decrease output.” Bus. Elecs. Corp. v. Sharp

 Elecs. Corp., 485 U.S. 717, 723 (1988) (internal citations omitted). Per se treatment is reserved

 for “only those agreements that are so plainly anticompetitive that no elaborate study of the

 industry is needed to establish their illegality.” Dagher, 547 U.S. at 5 (internal citations omitted).

 Thus, “the per se rule is appropriate only after courts have had considerable experience with the

 type of restraint at issue” in order to determine whether it has the requisite “manifestly

 anticompetitive effect[].” Leegin, 551 U.S. at 886 (quotation omitted).

          “Typically only ‘horizontal’ restraints—restraints ‘imposed by agreement between

 competitors’—qualify as unreasonable per se.” Ohio v. Am. Express Co., 138 S.Ct. 2274, 2283–

 84 (2018) (quoting Bus. Elecs., 485 U.S. at 730). Courts have found three types of horizontal

 restraints to be per se violations of the Sherman Act: price fixing, market allocation, and bid

 rigging.1 See, e.g., Dagher, 547 U.S. at 5 (price fixing); Palmer v. BRG of Ga, Inc., 498 U.S. 46,

 49–50 (1990) (market allocation); United States v. Young Brothers Inc., 728 F.2d 682, 687 (5th

 Cir. 1984) (bid rigging). If a naked trade restraint falls in one of these forms, it is summarily

 condemned per se illegal.

          The Sherman Act is enforced both criminally and civilly. See United States v. U.S. Gypsum

 Co., 438 U.S. 422, 438 (1978) (“Both civil remedies and criminal sanctions are authorized with

 regard to the same generalized definitions of the conduct proscribed.”). But the Department of

 Justice has a longstanding policy of only bringing criminal antitrust prosecutions based on per se

 violations of the Act. See United States v. Kemp & Assocs, Inc. 907 F.3d 1264, 1274 (10th Cir.



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  Certain types of group boycotts have also been found to be per se illegal, but “precedent limits the per se rule in the
 boycott context to cases involving horizontal agreements among direct competitors.” NYNEX Corp. v. Discon, Inc.
 525 U.S. 128, 135 (1998).

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 2018) (noting that the United States Attorney’s Antitrust Manual states that “current Antitrust

 Division policy is to proceed by criminal investigation and prosecution in cases involving

 horizontal, per se unlawful agreements.”). Whether the allegations in an Indictment constitute a

 per se violation is a legal question for the court. MM Steel, 806 F.3d at 847 (“The decision to

 analyze the conspiracy under a per se theory of liability is a question of law . . . .”); see also

 Maricopa Cnty, 457 U.S. at 337 n.3, 354.

                                       LEGAL STANDARD

        An indictment is subject to dismissal for the Government’s failure to state an offense.

 See FED. R. CRIM. P. 12(b)(3)(B). This means that, taking the Government’s allegations as true,

 United States v. Fontenot, 665 F.3d 640, 644 (5th Cir. 2011), the indictment must state the elements

 of each offense and facts “sufficient to permit the defendant to plead former jeopardy in a

 subsequent prosecution.” United States v. Contris, 592 F.2d 893, 896 (5th Cir. 1979).

 Indictments are read as a whole, and “[t]he sufficiency of an indictment is to be tested by practical

 rather than technical considerations.” Id. Indeed, “the law does not compel a ritual of words.”

 United States v. Ratcliff, 488 F.3d 639, 643 (5th Cir. 2007) (citation omitted). As such, an

 indictment will not be dismissed based on minor deficiencies or because it “could have been more

 artfully or precisely drawn.” Contris, 592 F.2d at 896. Courts generally measure the sufficiency

 of an indictment “by whether (1) each count contains the essential elements of the offense charged,

 (2) the elements are described with particularity, without any uncertainty or ambiguity, and (3) the

 charge is specific enough to protect the defendant against a subsequent prosecution for the same

 offense.” United States v. Threadgill, 172 F.3d 357, 366 (5th Cir. 1999) (citation omitted).




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                                    ANALYSIS: JINDAL’S MOTION

        In the present motion, Jindal argues that Count One of the Indictment should be dismissed

 for two main reasons (Dkt. #36). First, he argues that that Count One fails to state an offense under

 Federal Rule of Criminal Procedure 12(b)(3)(B)(v) because it does not identify a per se Sherman

 Act violation (Dkt. #36 at p. 1). Second, Jindal argues that Count One violates due process under

 the Fifth and Sixth Amendments because he did not receive “fair warning” the conduct was

 criminal, and the per se designation improperly promotes a presumption of intent (Dkt. #36 at pp.

 13–14). Rodgers adopts Jindal’s arguments for Count One and also moves to dismiss the

 Indictment on the basis that the Government has breached an alleged oral agreement not to

 prosecute him. Because both Defendants move to dismiss Count One on the same grounds, the

 Court will address the arguments pertaining to Count One in Jindal’s motion first before addressing

 Rodgers’ separate argument.

        I.      Sufficiency of the Indictment—Do the Allegations in the Indictment Constitute
                a Per Se Violation of the Sherman Act?

        In Count One of the Indictment, Defendants were charged with conspiracy to fix prices in

 violation of § 1 of the Sherman Act. The Indictment further alleges that the alleged conspiracy

 was a per se violation of the Sherman Act (Dkt. #21 ¶ 11) (“The conspiracy engaged in by Jindal,

 Rodgers, and co-conspirators was a per se unlawful, and thus unreasonable, restraint of interstate

 trade and commerce in violation of Section 1 of the Sherman Act.”). Accordingly, in the

 Government’s view, to obtain conviction, it does not need to prove market power, intent, or any

 anticompetitive effects on trade—it simply must prove the bare fact that an agreement existed.

 This is further reflected by the Indictment—it does not allege any of the elements of a rule-of-

 reason offense. Thus, the Indictment can only stand if the allegations in it constitute a per se

 violation of the Sherman Act. Stated differently, the Indictment must be dismissed if it fails to state

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 a cognizable per se offense under the Sherman Act. Whether the allegations in the Indictment

 constitute a per se violation is a question of law for the Court. MM Steel, 806 F.3d at 847.

         For over 100 years, the Supreme Court has consistently held that price-fixing agreements

 are unlawful per se under the Sherman Act. United States v. Socony-Vacuum Oil Co., 310 U.S.

 150, 218 (1940). In fact, the Supreme Court has stated that “[n]o antitrust offense is more

 pernicious than price fixing.” Fed. Trade Comm’n v. Ticor Title Ins. Co., 504 U.S. 621, 639 (1992).

 Defendants do not dispute that the Supreme Court has designated price fixing as a per se Sherman

 Act violation (Dkt. #47 at p. 3). But Defendants do dispute that the Indictment in-fact alleges a

 price-fixing agreement (Dkt. #47 at p. 4).

         The core of Defendants argument is that the Indictment does not allege a price-fixing

 agreement because it “[a]t most[] alleges an agreement to fix wages” (Dkt. #36 at p. 13).

 According to Defendants, though the Indictment uses the word “prices” to refer to the “pay rates”

 for the PTs and PTAs, the “appropriate word” to describe the “pay rates” is “wages” because the

 rates constitute compensation for the PTs’ and PTAs’ labor (Dkt. #36 at p. 13). Thus, Defendants

 argue that the “Indictment does not allege any agreement to fix ‘prices’” because “[w]ages do not

 fall within the definition of ‘price fixing,’ which is defined as ‘fixing . . . the price of a commodity’”

 (Dkt. #36 at p. 12-13). Further, according to Defendants, “[m]erely substituting the word ‘prices’

 for ‘wages’ does not transform the factual allegations from alleging a wage-fixing agreement to

 alleging a price-fixing agreement” (Dkt. #47 at p. 4). But Defendants’ narrow view of horizontal

 price-fixing agreements reveals the flaw in their arguments.

                 A. Price-Fixing Agreements Come in Many Forms.

         The scope of conduct found to constitute horizontal price-fixing agreements warranting

 application of the per se rule is broad. For example, courts have applied the per se rule to price-



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 fixing agreements: 1) establishing minimum prices, United States v. Trenton Potteries Co., 273

 U.S. 392, 401 (1927); 2) setting maximum prices, Maricopa Cnty., 457 U.S. at 335; 3) fixing credit

 terms, Catalano, Inc. v. Target Sales Inc., 446 U.S. 643, 648 (1980); 4) setting fee schedules,

 Goldfarb v. Va. State Bar, 421 U.S. 773, 783 (1975); 5) purchasing surplus product to keep it off

 the market, Socony-Vacuum, 310 U.S. at 167; 6) refusing to advertise prices, United States v.

 Gasoline Retailers Ass’n, 285 F.2d 688, 691 (7th Cir. 1961); and 7) excluding purchasers unless

 they increased the price they paid for a service, Fed. Trade Comm’n. v. Superior Ct. Trial Laws.

 Ass’n, 493 U.S. 411, 436 n.19 (1990). Thus, contrary to Defendants’ argument, “price fixing” has

 not been limited to conduct that literally directly “fix[es] . . . the price of a commodity.” (See Dkt.

 #36 at p. 13). Instead, as the above cases and many more have recognized, the definition of

 horizontal price-fixing agreements cuts broadly.            As such, any naked agreement among

 competitors—whether by sellers or buyers—that fixes components that affect price meets the

 definition of a horizontal price-fixing agreement. See Socony-Vacuum, 310 U.S. at 221 (“Any

 combination which tampers with price structures is engaged in an unlawful activity.”); Jacobi v.

 Bache & Co., Inc., 377 F. Supp 86, 95–96 (S.D.N.Y 1974) (“When the purpose of an agreement

 is to fix or stabilize prices, even if the means used affects only one element of the price structure,

 or only indirectly affects prices, the agreement is illegal per se . . . .”)

         The Court recognizes that the facts of this case do not present those typical of a price-fixing

 agreement. For example, the classic horizontal price-fixing scheme involves an agreement among

 sellers to fix the prices of goods they sell. But just because the typical price-fixing conspiracy

 involves certain hallmarks does not mean that other less prevalent forms of price-fixing agreements

 are not likewise unlawful. Indeed, Courts have not limited price-fixing conspiracies to agreements

 concerning the purchase and sale of goods but have found them to cover the purchase and sale of



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  services. See Goldfarb, 421 U.S. at 783 (finding that minimum fee schedule for lawyers services’

  “constitute[d] a classic illustration of price fixing”); Superior Ct. Trial Laws. Ass’n, 493 U.S. at

  423 (finding that lawyers’ boycott aimed at forcing increase of compensation paid to them was

  “the essence of ‘price fixing[.]’”). More importantly, courts have also not only found price-fixing

  agreements among sellers, but also among buyers. See Mandeville Island Farms, Inc. v. Am.

  Crystal Sugar Co., 334 U.S. 219, 235 (1948) (“It is clear that the agreement is the sort of

  combination condemned by the Act, even though the price-fixing was by purchasers, and the

  persons specially injured . . . are sellers, not customers or consumers.”); Nat’l Macaroni Mfrs.

  Ass’n v. Fed. Trade Comm’n., 345 F.2d 421, 426–27 (7th Cir. 1995) (finding a price-fixing

  agreement among manufacturers to standardize the composition of their product in an effort to

  depress the price of an essential raw material to be illegal per se). In sum, price-fixing agreements

  come in many forms and include agreements among competing buyers of services.

                 B. The Sherman Act Prohibits Conspiracies Among Buyers of Labor.

         The Supreme Court has made clear that the Sherman Act applies equally to all industries

  and markets—to sellers and buyers, to goods and services, and consequently to buyers of

  services—otherwise known as employers in the labor market. See Anderson v. Shipowners’ Ass’n

  of Pac. Coast, 272 U.S. 359, 361–65 (1926). More than a century ago, the Supreme Court

  recognized that the Sherman Act applies to labor markets. Id. In Anderson, along with other

  restraints that were imposed on the seamen to control their employment, the “[shipowners] fix[ed]

  the wages which shall be paid to the seamen.” 272 U.S. at 362. The Court found that this conduct,

  along with the other restraints on labor by the employers, violated the Sherman Act. Id. at 365.

  Thus, there is little doubt that “[t]he Sherman Act . . . applies to abuse of market power on the

  buyer side . . . .” Todd v. Exxon Corp., 275 F.3d 191, 201 (2d Cir. 2001) (Sotomayor, J); see also



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  All Care Nursing Serv., Inc. v. High Tech Staffing Servs., Inc., 135 F.3d 740, 747 (11th Cir. 1998)

  (“That price fixing is equally violative of antitrust laws whether it is done by buyers or sellers is

  also undisputed.”).

                 C. The Indictment Alleges a Price-Fixing Agreement That Is Per Se Illegal.

         With these principles in mind, the Court turns to the Indictment to determine if it alleges a

  price-fixing agreement that is per se illegal. MM Steel, 806 F.3d at 847. The Indictment alleges

  that “Jindal, Rodgers, and co-conspirators knowingly entered into and engaged in a conspiracy to

  suppress competition by agreeing to fix prices by lowering the pay rates to PTs and PTAs” (Dkt.

  #21 ¶ 11). The Indictment thus alleges a naked price-fixing conspiracy among buyers in the labor

  market to fix the pay rates of the PTs and PTAs. As such, the Indictment describes a price-fixing

  conspiracy that is per se unlawful. See Socony-Vacuum, 310 U.S. at 222 (“[T]he Sherman Act, so

  far as price-fixing agreements are concerned, establishes one uniform rule applicable to all

  industries alike.”).   In other words, to summarize, the scope of anticompetitive conduct that

  constitutes price fixing is broad—it covers agreements among buyers in the labor market. And the

  per se rule applies to naked price-fixing agreements categorically. Accordingly, the Indictment

  sufficiently alleges a price-fixing conspiracy that warrants the per se rule.

                 D. Fixing the Price of Labor, or Wage Fixing, is a Form of Price Fixing and
                    Thus Illegal Per Se.

         Defendants do not dispute that price-fixing agreements are per se illegal; they do, however,

  challenge how the Government labeled the offense and whether the charged conduct constitutes a

  per se offense (Dkt. #36 at p. 8). But, contrary to Defendants’ argument, whether the Indictment

  refers to the “pay rates” of the PTs and PTAs as “prices” or “wages” does not affect the outcome.

  See L. Sullivan, Handbook of the Law of Antitrust, s 74, at 198 (1977) (“The antitrust laws concern

  substance, not form, in the preservation of competition.”). The antitrust laws fully apply to the

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  labor markets, and price-fixing agreements among buyers—like therapist staffing companies—are

  prohibited by the Sherman Act. See Anderson, 272 U.S. at 361–65. At bottom, the alleged

  agreement between Defendants and co-conspirators had the purpose and effect of fixing the pay

  rates of the PTs and PTAs—the price of labor. When the price of labor is lowered, or wages are

  suppressed, fewer people take jobs, which “always or almost always tend[s] to restrict competition

  and decrease output.” See Bus. Elecs. Corp., 485 U.S. at 723. This type of agreement is plainly

  anticompetitive and has no purpose except stifling competition. See All Care Nursing Serv., Inc,

  135 F.3d at 748 (“The key to per se treatment is whether the conduct is of the kind that can only

  be anticompetitive.”). Indeed, “[b]uyers’ cartels engaged in price fixing have been held to be

  illegal under the Sherman Act even though their goal is to lower the price of the input.” Int’l

  Outsourcing Servs, LLC v. Blistex, Inc., 420 F. Supp. 2d. 860, 864 (N.D. Ill. 2006).

         Additionally, contrary to Defendants’ argument, that the Indictment lacks allegations that

  Defendants “made any agreement to fix prices paid by consumers” does not mean the Indictment

  fails to state a price-fixing agreement (see Dkt. #36 at p. 13). The Sherman Act “does not confine

  its protection to consumers, or to purchasers, or to competitors, or sellers.” Mandeville, 334 U.S.

  at 236. Rather, the statute protects “all who are made victims of the forbidden practices by

  whomever they may be perpetrated,” and those protections extend to sellers of goods and

  services—such as the PTs and PTAs—to the same extent they do buyers, consumers, or

  competitors. Id. Besides, “[j]ust as antitrust law seeks to preserve the free market opportunities of

  buyers and sellers of goods, so also it seeks to do the same for buyers and sellers of employment

  services.” Roman v. Cessna Aircraft Co., 55 F.3d 542, 544 (10th Cir. 1995) (quoting II Phillip

  Areeda & Herbert Hovenkamp, Antitrust Law ¶ 377c (rev. ed. 1995)). As Anderson makes clear,




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  employees are no less entitled to the protection of the Sherman Act than are consumers. See 272

  U.S. at 364–65.

           Justice Kavanaugh’s recent concurrence in National Collegiate Athletic Ass’n v. Alston

  provides further support for the conclusion that fixing the price of labor, or wage fixing, is a form

  of price fixing. 141 S. Ct. 2141 (2021). In Alston, the Supreme Court addressed wage fixing by

  the NCAA—namely the NCAA’s cap on education-related compensation that student-athletes are

  eligible to receive. Id. at 2147. In his concurrence, Justice Kavanaugh unequivocally asserts:

  “Price-fixing labor is price-fixing labor. And price-fixing labor is ordinarily a textbook antitrust

  problem because it extinguishes the free market in which individuals can otherwise obtain fair

  compensation for their work.” Id. at 2167–68 (Kavanaugh, J., concurring) (citations omitted).

  Thus, in Justice Kavanaugh’s mind, wage fixing is price fixing—price fixing of labor. See id.

           While Defendants correctly state that Alston does not classify wage fixing as a per se

  violation,2 Justice Kavanaugh’s concurrence is significant because he characterizes wage fixing as

  price fixing. See id. And, “[i]t has long been settled that an agreement to fix prices is unlawful per

  se.” Catalano, 446 U.S. at 647. Thus, outside the extraordinary context at issue in Alston, naked

  horizontal agreements to fix the price of labor, like the agreement here, are ordinarily per se illegal.




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    In Alston, the Supreme Court affirmed a judgment that evaluated the NCAA’s limit on education-related
  compensation under the rule of reason. Id at 10–11 (majority opinion). However, for many years, the Supreme Court
  has declined to condemn the NCAA’s restraints as illegal per se because the “horizontal restraints on competition are
  essential if the product is to be available at all.” Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla.,
  468 U.S. 85, 101 (1984). In these situations—where collaboration is essential among certain actors for there to be a
  product at all—the rule of reason applies regardless of the nature of the restraint at issue. See id. at 103. Accordingly,
  contrary to Defendants’ argument, that the Supreme Court evaluated the NCAA’s wage-fixing under the rule of reason
  does not justify the rule of reason in this case.


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                 E. Other Courts Have Recognized that Wage-Fixing Conspiracies Are Per Se
                    Unlawful as Price-Fixing Agreements.

         Other courts have also recognized that wage-fixing conspiracies—or horizontal

  agreements among buyers in the labor market—are illegal per se like other price-fixing

  agreements. See Todd, 275 F.3d at 198 (“If the plaintiff in this case could allege that defendants

  actually formed an agreement to fix [] salaries, [the] per se rule would likely apply.”); Law v. Nat’l

  Coll. Athletic Ass’n, 134 F.3d 1010, 1017 (10th Cir. 1998) (finding that NCAA rule limiting salary

  of basketball coaches would ordinarily be a per se violation of § 1 of the Sherman Act); In re

  Animation Workers Antitrust Litig., 123 F. Supp. 3d 1175, 1179, 1213–14 (N.D. Cal. 2015) (“[T]he

  Court concludes that [p]laintiff[-employees] have alleged sufficient facts to support a plausible per

  se claim that [d]efendant[-employers] allegedly conspired to suppress the compensation of the

  putative class.”); Cason-Merenda v. Detroit Med. Ctr., 862 F. Supp. 2d 603, 624–25 (E.D. Mich.

  2012) (noting plaintiffs and defendants agreed that wage fixing “like an analogous horizontal

  price-fixing conspiracy” should be characterized as a per se violation); Fleischman v. Albany Med.

  Ctr., 728 F. Supp. 2d. 130, 157 (N.D.N.Y. 2010) (“Generally, price-fixing [or in this case wage-

  fixing] agreements are considered a per se violation of the Sherman Act.”) (alterations in original)

  (internal quotations and citations omitted); Doe v. Ariz. Hosp. & Healthcare Ass’n, No. CV07-

  1292, 2009 WL 1423378, at *3–4 (D. Ariz. Mar. 19, 2009) (finding complaint that alleged

  defendant-hospitals conspired to keep temporary nursing wages below free market level should

  survive motion to dismiss because agreement was a per se illegal price-fixing agreement); Cordova

  v. Bache & Co., 321 F. Supp. 600, 606 (S.D.NY. 1970) (“There can be little doubt about the fact

  that if a group of employers, as the complaint here alleges, were allowed . . . to agree together to

  reduce the commissions paid to their respective employees, they would have the same power to

  restrain competition as is inherent in a price-fixing agreement.”).

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          Though Defendants take issue with the fact that all the cases that have labeled wage fixing

  as a per se violation are civil cases, (see Dkt. #47 at p. 5), the distinction is irrelevant. Just because

  this is the first time the Government has prosecuted for this type of offense does not mean that the

  conduct at issue has not been illegal until now. Rather, as these cases indicate, price-fixing

  agreements—even among buyers in the labor market—have been per se illegal for years.

                  F. There is Sufficient Judicial Experience with Price Fixing to Justify a Per
                     Se Designation.

          Defendants misapprehend the role of judicial experience in applying a per se designation

  to certain conduct. Defendants contend that agreements are deemed unlawful per se “only after

  courts have had considerable experience with the type of restraint at issue” (Dkt. #36 at p. 10)

  (quoting Leegin, 551 U.S. at 886). As a result, because neither the Supreme Court nor any Court

  of Appeals has ever determined whether a purported wage-fixing agreement is per se unlawful

  under § 1 of the Sherman Act, Defendants argue there is insufficient judicial experience with wage

  fixing to justify a per se designation (Dkt. #36 a p. 9). Defendants are mistaken.

          Judicial experience informs the decision to recognize a “new per se rule.” See Maricopa

  Cnty., 457 U.S. at 350 n.19 (emphasis in original). Price-fixing agreements, as horizontal

  restraints, have long been held to merit a per se designation. Socony-Vacuum, 310 U.S. at 218.

  Thus, courts “have [] considerable experience with the type of restraint at issue”—price-fixing

  agreements. See Leegin, 551 U.S. at 886 (emphasis added). As courts have recognized, price-

  fixing agreements come in many forms. See supra pp. 8–10. And though no appellate court has

  ever specifically found that a price-fixing agreement among employers in the labor market is per

  se illegal does not mean the Court is recognizing a new per se rule. See United States v. Andreas,

  216 F.3d 645, 667 (7th Cir. 2000) (“Yet the fact that the lysine producers’ scheme did not fit

  precisely the characterization of a prototypical per se practice does not remove it from per se

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  treatment.”). Rather, a restraint that is “tantamount to” per se unlawful conduct “falls squarely

  within the tradition per se rule.” Catalano, 446 U.S. at 648. Similarly, here, an agreement to fix

  the price of labor is “tantamount” to an agreement to fix prices, and “thus falls squarely within the

  traditional per se rule against price fixing.” See id. Besides, the Supreme Court has explicitly

  rejected arguments like Defendants’: “[T]he argument that the per se rule must be rejustified for

  every industry that has not been subject to significant antitrust litigation ignores the rationale for

  per se rules . . . .” Maricopa Cnty., 457 U.S. at 351.

         Moreover, Defendants further argue that “[t]he need for further judicial experience and

  analysis is also evident” in light of the possibility that wage-fixing could “benefit[] consumers

  downstream through lower prices” and “encourage, rather than discourage, competitors” (Dkt. #36

  at p. 11). In other words, per se designation is not appropriate because Defendants’ conduct cannot

  be said to “lack any redeeming virtue” (Dkt. #36 at p. 11) (internal citations omitted). But the

  Supreme Court has also rejected similar arguments.

         For example, in Catalano, the Supreme Court explicitly rejected similar procompetitive

  justifications that the court of appeals had relied upon—namely that the anticompetitive behavior

  at issue might actually decrease prices for consumers and increase competition by removing a

  barrier to market entry. Id. at 649–50. The Court stated that “[w]hile it may be that the elimination

  of a practice of giving variable discounts” may ultimately lead to a decrease in the invoice price,

  “[i]t is more realistic to view an agreement to eliminate credit sales as extinguishing one form of

  competition among the sellers.” Id. at 649. Similarly, here, though an agreement to fix the price

  of labor could benefit consumers, “that is surely not necessarily to be anticipated” and that will not

  prevent it from being declared unlawful per se. See id. Undeniably, “Supreme Court jurisprudence

  is clear: where the per se rule applies, it is of no consequence that an agreement could potentially



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  bring net economic benefits to some part of the market . . . .” Kemp & Assocs., Inc. 907 F.3d at

  1277.

          Further, in Catalano, the Supreme Court rejected the justification that an agreement to

  eliminate the practice of giving credit could actually enhance competition by removing a barrier

  to entry for other sellers. 446 U.S. at 649. The Court reasoned, “it would seem to follow that the

  more successful an agreement is in raising the price level [or curtailing production], the safer it is

  from antitrust attack. Nothing could be more inconsistent with our cases.” Id. Again, similarly,

  Defendants’ argument that an agreement to fix the price of labor may “encourage, rather than

  discourage, competitors” misses the mark (see Dkt. #36 at p. 11). Time and time again, the

  Supreme Court has reiterated, “when a particular concerted activity entails an obvious risk of

  anticompetitive impact with no apparent potentially redeeming value, the fact that a practice may

  turn out to be harmless in a particular set of circumstances will not prevent its being declared

  unlawful per se.” Catalano, 446 U.S. at 649.

                 G. Count One of the Indictment Sufficiently Charges a Conspiracy to Fix
                    Price.

          Since the Court has found that the allegations in the Indictment constitute a per se offense,

  the Court must next review the Indictment to determine whether it is legally sufficient on its face.

  To prove a per se violation of 15 U.S.C. § 1, the Government must prove that (1) the defendant

  knowingly formed, joined, or participated in a contract, combination, or conspiracy; (2) its purpose

  was to fix, raise, maintain, or stabilize prices; and (3) the activities subject to the conspiracy

  occurred in the flow of interstate commerce or substantially affected interstate commerce. 15

  U.S.C. § 1; Socony-Vacuum., 310 U.S. at 219–20, 223; United States v. Cargo Serv. Stations, Inc.,

  657 F.2d 676, 679, 681 (5th Cir. 1981).




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           Count One tracks the elements of a per se violation of 15 U.S.C. § 1. It alleges that

  Defendants knowingly formed, joined, or participated in a conspiracy, that the conspiracy was

  meant to suppress competition by agreeing to fix prices,3 and that the business activities occurred

  within the flow of, and substantially affected, interstate trade and commerce.4 The Indictment

  therefore is legally sufficient on its face. It contains the “essential elements of the offense charged,

  [] the elements are described with particularity, without any uncertainty or ambiguity, and [] the

  charge is specific enough to protect Defendants against a subsequent prosecution for the same

  offense.” United States v. Lavergne, 805 F.2d 517, 521 (5th Cir. 1986).

           Thus, Count One of the Indictment sufficiently alleges facts constituting a per se violation

  of the Sherman Act. Because the Court has found that the Indictment properly alleges a per se

  violation of the Sherman Act, the Court now turns to Defendants’ next argument as to why the

  Court should dismiss Count One.

           II. Constitutional Issues
           Defendants argue that application of the per se rule is unconstitutional because it violates

  the Fifth and Sixth Amendments of the U.S. Constitution (Dkt. #36 at p. 15). Specifically, first,

  Defendants argue the Indictment violates the Fifth Amendment because it “violates the rule of

  lenity and fails to give fair warning of the prohibited conduct” (Dkt. #36 at pp. 15–16). Second,

  Defendants argue the Indictment violates the Sixth Amendment because it “improperly promotes




  3
     “. . . Jindal, Rodgers, and co-conspirators knowingly entered into and engaged in a conspiracy to suppress
  competition by agreeing to fix prices by lowering the pay rates to PTs and PTAs” (Dkt. #21 at pp. 3–4).
  4
    “During the Relevant Period, the business activities of Jindal, Rodgers, and their co-conspirators that are the subject
  of the conspiracy charged in this Count were within the flow of, and substantially affected, interstate trade and
  commerce. For example, during the Relevant Period: (a) Insurance funds, including federal Medicare funds, traveled
  from banks or companies located in states outside of Texas through a home health agency to Company A in Texas,
  and from Company A to its PTs and PTAs to pay them for providing care to patients; (b) To provide care in patients
  homes and assisted living facilities, PTs and PTAs used equipment and vehicles purchased in interstate commerce;
  and (c) The conspiracy was intended to lower rates paid to PTs and PTAs, which would lessen their purchases in
  interstate trade and commerce” (Dkt. #21 at p. 6).

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  a presumption of intent, vitiating the requirement of proof of state of mind in the criminal context”

  (Dkt. #36 at p. 16). The Court will address each argument in turn.

                 A. Defendants’ Fifth Amendment Challenges Fail.

         The Fifth Amendment provides that “[n]o person shall be held to answer for a capital, or

  otherwise infamous crime, unless on a presentment or indictment of a Grand Jury . . . nor be

  deprived of life, liberty, or property without due process of law . . . .” U.S. CONST. amend. V. As

  embodied by the “fair warning requirement,” due process requires that “no man shall be held

  criminally responsible for conduct which he could not reasonably understand to be proscribed.”

  United States v. Lanier, 520 U.S. 259, 265 (1997) (internal quotations omitted).

         The Supreme Court has identified “three related manifestations of the fair warning

  requirement.” Id. at 266. “First, the vagueness doctrine bars enforcement of a statute which either

  forbids or requires the doing of an act in terms so vague that men of common intelligence must

  necessarily guess at its meaning and differ as to its application.” Id. (internal quotations omitted).

  Second, the rule of lenity “ensures fair warning by so resolving ambiguity in a criminal statute as

  to apply it only to conduct clearly covered.” Id. (citations omitted). And third, “due process bars

  courts from applying a novel construction of a criminal statute to conduct that neither the statute

  nor any prior judicial decision has fairly disclosed to be within its scope.” Id. (citations omitted).

  To satisfy each of these requirements, a criminal statute, “standing alone or as construed” must

  “ma[k]e it reasonably clear at the relevant time that the defendant’s conduct was criminal.” Id. at

  267.

         Defendants do not contend that the Sherman Act itself is unconstitutionally vague; rather,

  they argue that the Indictment violates the second and third manifestations of the fair warning

  requirement (Dkt. 47 at pp. 10–11). According to Defendants, because no court has found that



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  purported wage-fixing agreements constitute criminal conduct and neither the Supreme Court nor

  any Court of Appeals has held wage fixing to be per se unlawful, then Defendants “could not

  possibly have had fair warning that the conduct alleged in the Indictment may be criminal” (Dkt.

  #36 at p. 18). Further, Defendants argue that because there is “a grievous uncertainty as to whether

  the Supreme Court condemns wage fixing as a per se antitrust violation,” the rule of lenity

  mandates dismissal (Dkt. #47 at p. 11). In response, the Government argues “[t]his is not even

  close” because “the Supreme Court has long recognized that wage fixing is price fixing” (Dkt. #46

  at p. 15 (citing Anderson, 272 U.S. at 361–63; Superior Ct., 493 U.S. at 423, 427, 432, 436 n.19)).

  While the issue is not as clear-cut as the Government suggests, Defendants’ constitutional

  arguments fail.

                         i.       The Defendants Received Fair Notice That Their Conduct Was
                                  Illegal.

         The Indictment charges Defendants with price fixing. For more than 100 years, courts

  have repeatedly held price fixing as per se illegal under the Sherman Act. Socony-Vacuum., 310

  U.S. at 218. Thus, Defendants could not have had any reasonable doubt that any price-fixing

  agreement was per se illegal. Defendants do not dispute this conclusion and instead insist that the

  “novel construction of the statute to construe ‘wage fixing’ as per se unlawful . . . fails to give fair

  warning of the prohibited conduct” (Dkt. #36 at p. 15) (emphasis added). But this argument relies

  on the same semantical arguments this Court already rejected. See supra Part I.

         Regardless of whether the Indictment characterizes Defendants’ conduct as wage fixing or

  price fixing, the Sherman Act, in conjunction with the decades of case law, made it “reasonably

  clear” that Defendants’ conduct was unlawful. See Lanier, 520 U.S. at 267. Indeed, most criminal

  statutes   “deal   with     untold   and   unforeseen     variations   in   factual   situations,”   so

  “no more than a reasonable degree of certainty can be demanded.” Boyce Motor Lines v. United

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  States, 342 U.S. 337, 340 (1950). Belaboring the point discussed in Part I, the Supreme Court has

  long recognized that price-fixing agreements come in many forms. See Catalano, 446 U.S. at 647–

  50; see also supra Part I pp. 8–10. And the Supreme Court has long recognized that § 1

  categorically prohibits per se unlawful restraints across all markets and industries—including

  restraints on the buyer side and in the labor market. See Mandeville, 334 U.S. at 235–36; Anderson,

  272 U.S. at 361–63; see also supra Part I pp. 9–11. Thus, decades of precedent gave Defendants

  more than sufficient notice that agreements among competitors to fix the price of labor are per se

  illegal. Moreover, the numerous district court decisions holding that agreements to fix the

  compensation of employees are per se unlawful reinforce this conclusion. See supra Part I. p. 14.

  At a minimum, these decisions foreclose Defendants’ argument because it cannot be said that “no[]

  [] prior judicial decision has fairly disclosed [Defendants’ conduct] to be within [the] scope [of the

  Sherman Act].” See Lanier, 520 U.S. at 266.

          Moreover, the holding today is not a “novel” construction of the Sherman Act—it comports

  with previous broad interpretations of the Act and is a logical application of precedent. Similarly,

  that “no court has found that purported wage-fixing agreements constitute criminal conduct under

  the Sherman Act” does not mean that Defendants’ did not have fair notice. See United States v.

  Kinzler, 55 F.3d 70, 74 (2d Cir.1995) (“The claimed novelty of this prosecution does not help

  [defendant's fair notice argument], for it is immaterial that there is no litigated fact pattern precisely

  on point.”) (internal quotations omitted). Rather, the lack of criminal judicial decisions only

  indicates Defendants’ unlucky status as the first two individuals that the Government has

  prosecuted for this type of conduct before.

          But, “[t]o find unfair notice whenever a court specified new types of acts to which a

  criminal statute applied would stifle courts’ ability to interpret and fairly apply criminal statutes.”



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  United States v. Kay, 513 F.3d 432, 444–45. Rather, “as Lanier points out, lack of prior court

  interpretations ‘fundamentally similar’ to the case in question does not create unfair notice.” Id. at

  444. Instead, “so long as the prior decisions gave reasonable warning” that the conduct was

  unlawful, then fair notice was satisfied. See id. And, here, decades of judicial interpretations gave

  Defendants more than “reasonably clear” notice that their conduct was unlawful. See Lanier, 520

  U.S. at 267.

          Even where the Supreme Court has considered certain conduct “not price fixing as such,”

  it has affirmed the district court’s application of the per se rule. United States v. Nat’l Soc’y of Pro.

  Eng’rs, 435 U.S. 681, 692, 699 (1978). Thus, even accepting Defendants’ argument that their

  conduct was not literally price fixing, Defendants were still on notice that their conduct was

  “perilously close” to a line that subjected them to criminal prosecution. See Boyce, 342 U.S. at

  331; Id. (“Nor is it unfair to require that one who deliberately goes perilously close to an area of

  proscribed conduct shall take the risk that he may cross the line.”). Thus, Defendants received fair

  notice that their conduct was illegal.

                          ii.     The Rule of Lenity Does Not Apply.

          Defendants also argue that the rule of lenity requires dismissal of Count One because there

  remains a “grievous uncertainty as to whether the Supreme Court condemns wage fixing as a per

  se antitrust violation” since “it has never evaluated it as such” (Dkt. #47 at p. 11). The Government

  responds by arguing that the rule of lenity is inapplicable here because “[t]here is no grievous

  ambiguity or uncertainty in this case” (Dkt. #46 at p. 15).

          The rule of lenity is a principle of statutory construction that “applies primarily to the

  interpretation of criminal statutes.” Kasten v. Saint-Gobain Performance Plastics Corp., 563 U.S.

  1, 16 (2011). It dictates that courts resolve ambiguities in criminal statutes in favor of defendants.



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  See Crandon v. United States, 494 U.S. 152, 168 (1990). But “[c]ourts do not resort to the rule of

  lenity every time a difficult issue of statutory interpretation arises.” United States v. Bittner, 469

  F. Supp. 3d. 709, 723 (E.D. Tex. 2020) (citation and internal quotation marks omitted). “[T]he

  rule of lenity only applies if, after considering text, structure, history, and purpose, there remains

  a grievous ambiguity or uncertainty in the statute such that the Court must simply guess as to what

  Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010) (citation and internal quotation

  marks omitted).

         Here, the rule of lenity has no application. As discussed, the rule of lenity applies only if

  a court can make “no more than a guess as to what Congress intended.” Ladner v. United States,

  358 U.S. 169, 178 (1958). Here, the Court can do much better than “guess.” See id. Indeed, the

  Supreme Court has recognized that “Congress intended to strike as broadly as it could in § 1 of the

  Sherman Act . . . .” Goldfarb, 421 U.S. at 787. And price-fixing agreements—in many forms—

  have long been held to be per se violations of the Act. See Catalano, 446 U.S. at 647–50; see also

  supra Part I pp. 8–10. The Supreme Court has also long held that the Sherman Act applies equally

  to all industries and markets—including to agreements made by buyers in the labor market. See

  Mandeville, 334 U.S. at 235–36; Anderson, 272 U.S. at 361–63; see also supra Part I pp. 9–11.

  Thus, these cases leave no room for application of the rule of lenity. Put bluntly, “the rule of lenity

  cannot be used to create ambiguity when the meaning of a law, even if not readily apparent, is,

  upon inquiry, reasonably clear.” United States v. Nippon Paper Industries Co., 109 F.3d 1,8 (1st

  Cir. 1997). Though Defendants disagree with this Court’s interpretation of the Sherman Act, that

  does not mean there is a “grievous ambiguity.” See Barber, 560 U.S. at 488. Rather, decades of

  precedent make it clear that agreements to fix the price of labor—like all other price-fixing

  agreements—are per se illegal. Thus, the rule of lenity does not apply.



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                 B. Defendants’ Sixth Amendment Challenge Also Fails.

         The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall enjoy

  the right to a speedy and public trial, by an impartial jury . . . .” U.S. CONST. amend. VI.

  Defendants argue that the Indictment’s per se designation violates the Sixth Amendment because

  it “improperly suggest[s] that intent could be presumed without further evidence” (Dkt. #36 at p.

  20). According to Defendants, such a presumption would unconstitutionally take from the jury

  the determination of intent—thus depriving Defendants of their right to trial by jury (Dkt. #36 at

  p. 20). The basis of Defendants’ argument stems from United States v. U.S. Gypsum Co., where

  the Supreme Court held “that a defendant’s state of mind or intent is an element of a criminal

  antitrust offense” which “cannot be taken by the trier of fact through reliance on a legal

  presumption of wrongful intent from proof of an effect on prices.” 438 U.S. at 435. But

  Defendants’ cursory Sixth Amendment argument also fails.

         Decades ago, the Fifth Circuit rejected essentially the same argument that Defendants now

  make. United States v. Cargo Serv. Stations, Inc., 657 F.2d 676, 681–84 (5th Cir. 1981).

  Defendants fail to acknowledge, much less distinguish, this precedent.           In Cargo Service,

  defendants were charged with a conspiracy to fix prices and subsequently found guilty after a jury

  trial. Id. at 678. On appeal, relying on Gypsum, defendants argued that they were denied due

  process of law because the district court’s jury instruction “improperly allowed the jury to convict

  absent a finding of intent” Id. at 684. The Fifth Circuit rejected this argument: “Neither a

  conclusive nor a permissive presumption is at issue here” because “a finding of intent to fix prices

  [equates to] an intent to unreasonably restrain trade.” Id. at 683 n.7. Thus, “a finding that

  [defendants] intended to fix prices supplies the criminal intent necessary for a conviction of a

  criminal antitrust offense.” Id. at 684. Further, the Fifth Circuit found the Defendants’ reliance on



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  Gypsum was misplaced—Gypsum was “easily distinguishable” because it involved the mere

  exchange of price information, not price fixing itself, and thus was a rule of reason case. Id. at 683.

  This Court thus finds that Cargo Service forecloses Defendants’ argument.5                         Accordingly,

  application of the per se rule does not violate the Sixth Amendment.

           Since the Court has addressed both Defendants’ arguments pertaining to Count One, the

  Court will now turn to Rodgers’ separate argument.

                                    ANALYSIS: RODGERS’ MOTION

           In addition to adopting Jindal’s arguments for Count One, Rodgers moves to dismiss the

  entire Indictment against him on another ground (Dkt. #45). Specifically, Rodgers argues the

  Indictment should be dismissed because the Government’s prosecution breaches an oral non-

  prosecution agreement between Rodgers and the Government (Dkt. #45). In response, the

  Government denies the existence of an oral non-prosecution agreement (Dkt. #48). In fact, the

  Government contends that the only agreements between Rodgers and the Government were two

  no-direct use agreements (“NDU’s”), commonly referred to as “proffer letters” (Dkt. #48 at p.3).

      I.       Rodgers’ Background

           Details of the events between Rodgers, his attorney, and the Government are helpful for

  context regarding the alleged non-prosecution agreement. Based on a declaration from Brian Poe

  (“Poe”), Rodgers’ attorney, and a declaration from Ryan Danks (“Danks”), Acting Chief of the

  Washington Criminal I Section of the Antitrust Division, the Court summarizes the following

  background information (Dkt. #45-8; Dkt. #48-1).




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    Moreover, every other circuit to address this issue has agreed. United States v. Giordano, 261 F.3d 1134, 1143–44
  (11th Cir. 2001); United States v. Fishbach & Moore, Inc., 750 F.2d 1183, 1195–96 (3d. Cir. 1984); United States v.
  Koppers Co., 652 F.2d 290, 293–95 (2d Cir. 1981); United States v. Brighton Bldg. & Maint. Co., 598 F.2d 1101,
  1106 (7th Cir. 1979); United States v. Mfrs.’ Ass’n, 462 F.2d 49, 52 (9th Cir. 1972).

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         On November 26, 2019, DOJ Trial Attorney Katie Stella (“Stella”) contacted Poe and the

  two spoke on the phone following a brief email exchange (Dkt. #45-8 ¶ 2). During the phone call,

  Stella stated that the Government considered Rodgers to be a “subject” of a criminal investigation

  and wanted to interview Rodgers in connection with an antitrust investigation. (Dkt. #45-8 ¶ 2).

  According to Poe’s declaration, Stella also stated that “she did not anticipate Rodgers being

  charged if he continued to cooperate with the government’s investigation” (Dkt. #45-8 ¶ 2).

  Danks’ declaration does not mention this phone call.

         On December 12, 2019, Rodgers and Poe met with the Government in Fort Worth for an

  interview or “proffer” (Dkt. #45-8 ¶ 4). A written NDU was executed before the interview on the

  same day, setting out the terms of the interview (Dkt. #48-1 ¶ 6; Dkt. #48, Exhibit 2). Poe’s

  declaration does not mention the written NDU.          Following Rodgers’ proffer, Poe and the

  Government communicated several times via phone and email (Dkt. #45-8 ¶ 6). On May 22, 2020,

  Poe received a phone call from Stella concerning Rodgers (Dkt. #45-8 ¶ 7). During the call, Poe

  claims that Stella confirmed that Rodgers was still considered a “subject” of the criminal

  investigation and stated again that Rodgers would not be charged criminally if he continued to

  cooperate with the Government’s investigation (Dkt. #45-8 ¶ 7). Again, Danks’ declaration

  contains no mention of this call.

         On or about December 9, 2020, Poe states he received a phone call from DOJ Antitrust

  Trial Attorney Megan Lewis (“Lewis”) regarding Rodgers (Dkt. #45-8 ¶ 9). The purpose of the

  call was to inform Poe that a Grand Jury had indicted Jindal and that the Government anticipated

  Rodgers would need to testify at trial (Dkt. #45-8 ¶ 9; Dkt. #45-1 ¶ 7). Poe claims that while he

  had been previously assured by Stella that Rodgers would not be charged if he continued to

  cooperate, he took the opportunity to confirm this with Lewis since she was Stella’s supervisor



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  (Dkt. #45-8 ¶ 9). According to Poe’s declaration, “Lewis unequivocally stated that Rodgers would

  not be charged if he continued to cooperate with the [G]overnment” (Dkt. #45-8 ¶ 9). Danks

  admits the Government contacted Poe on that day, but his declaration contains no further details

  of the substance of the conversation (Dkt. #48-1 ¶ 7). He does state, however, that the Government

  attorney with whom Poe spoke was not Lewis, nor was the attorney a supervisor of another

  attorney who worked on the investigation (Dkt. #48-1 ¶ 7).

           On January 27, 2021, Rodgers and Poe attended a virtual proffer with the Government

  (Dkt. #45-8 ¶ 11). As with the first proffer, another NDU was executed setting out terms of the

  interview (Dkt. #48-1 ¶ 9; Dkt. #48, Exhibit 3). Again, Poe’s declaration contains no mention of

  the written agreement that was executed that day. Subsequently, on a March 1, 2021 phone call,

  the Government notified Poe that it was recommending prosecution for Rodgers because, in the

  Government’s view, Rodgers had not been truthful during the proffer on January 27, 2021 (Dkt.

  #45-8 ¶ 12; Dkt. #48-1 ¶ 10). Rodgers was indicted on April 15, 2021 (Dkt. #45-8 ¶ 14).

     II.      Non-Prosecution Agreement Legal Standard

           “Non[-]prosecution agreements, like plea bargains, are contractual in nature, and are

  therefore interpreted in accordance with general principles of contract law.” United States v.

  Castaneda, 162 F.3d 832, 835 (5th Cir. 1998). Applying contract law, Rodgers “bears the burden

  of proving that there was a mutual manifestation of assent—either verbally, or through conduct—

  to the agreement’s essential terms.” United States v. Jimenez, 256 F.3d 330, 347 (5th Cir. 2001).

           If Rodgers proves that there was a non-prosecution agreement and “lives up to his end of

  the bargain, the government is bound to perform its promises.” Castaneda, 162 F.3d at 835–36.

  If Rodgers “‘material breaches’ his commitments under the agreement, however, the government

  can be released from its reciprocal obligations.” Id. at 836. To be relieved of its obligations, the



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  Government must “prove to the court by a preponderance of the evidence that (1) the defendant

  breached the agreement, and (2) the breach is sufficiently material to warrant rescission.” Id.

      III.      Analysis

             Armed with a better understanding of the communication between Rodgers’ counsel, Poe,

  and the Government, the Court turns back to Rodgers’ argument. Rodgers claims there was an

  oral non-prosecution agreement that was “reached on or about December 9, 2020” “that Rodgers

  would not be charged if [he] continued to cooperate, which included testifying at trial” (Dkt. #50

  at p. 6). Rodgers further contends that the Government has not proved that Rodgers breached the

  terms of his non-prosecution agreement (Dkt. #45 at p. 9). Accordingly, Rodgers argues the

  Government cannot rescind the agreement (Dkt. #45 at p. 9). The Government counters by arguing

  that no oral agreement was ever reached (Dkt. #48 at p. 10). The Government also argues that two

  written NDUs “conclusively establish that Rodgers did not have a non-prosecution agreement”

  “[b]ecause parol evidence is inadmissible to prove the meaning of the unambiguous NDUs” (Dkt.

  #48 at p. 10). Further, while the Government has not come forward with any evidence proving

  Rodgers violated any alleged oral agreement, it argues that “[i]f necessary” it “could readily show

  a material violation of any non-prosecution agreement” (Dkt. #48 at p. 13).

             Applying basic contract principles to the alleged agreements in this case, in order to dismiss

  the Indictment, the Court must 1) find that the parol evidence rule does not bar the enforcement of

  the alleged oral non-prosecution agreement; 2) an oral non-prosecution agreement was in fact

  reached; 3) Rodgers performed his part of the agreement; and 4) the Government has breached the

  agreement.6 See Jimenez, 256 F.3d at 347 n.23 (noting that before considering whether any alleged


  6
   The parties did not address choice of law questions. The Court, however, is bound by Erie R. Co. v. Tompkins, 304
  U.S. 64 (1938) to apply the contract law of the State of Texas, where was the agreement was allegedly executed and
  where it would be performed. United States v. McBride, 571 F. Supp. 596, 604 n.3 (S.D. Tex. 1983), aff’d, 915 F.2d
  1569 (5th Cir. 1990)

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  agreement was breached, it must first be determined whether an agreement ever existed). Thus,

  the Court will first consider the effect of the written NDUs as part of its inquiry into whether an

  oral non-prosecution agreement was ever reached.

         A. The Two Written NDUs Do Not Bar Enforcement of Any Alleged Oral
            Agreement.

         As previously stated, the Government argues that two written NDUs between the

  Government and Rodgers trigger the parol evidence rule and thus “conclusively establish that

  Rodgers did not have a non-prosecution agreement” (Dkt. #48 at p. 10). According to the

  Government, because the NDUs contemplate Rodgers’ potential prosecution and contain merger

  clauses, they “foreclose any contention that there was a non-prosecution agreement at the time of

  their signing” (Dkt. #48 at p. 10). In his motion to dismiss the Indictment, Rodgers does not

  mention the written NDUs. In his reply, however, Rodgers concedes that the written NDUs exist,

  but cites no law on the parol evidence rule and instead just repeatedly asserts that the Government

  “misconstrue[s] the language of these agreements” (Dkt. #50 at p. 5).

         In construing a written contract, the primary concern of the court is to ascertain the true

  intentions of the parties as expressed in the writing itself. J.M. Davidson, Inc. v. Webster, 128

  S.W.3d 223, 229 (Tex. 2003). Parties may not rely on extrinsic evidence to create an ambiguity

  or give the contract a different meaning from that which its language imports. First Bank v.

  Brumitt, 519 S.W.3d 95, 110 (Tex. 2017). “If the written instrument is so worded that it can be

  given a certain or definite legal meaning or interpretation, then it is not ambiguous and the court

  will construe the contract as a matter of law.” Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1983).

  Likewise, “when a contract is unambiguous, [courts] generally will not look beyond the four

  corners of the document.” United States v. Long, 722 F.3d 257, 262 (5th Cir. 2013) (internal

  quotations omitted). Further, when there is valid integrated agreement with respect to a particular

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  subject matter, the parol evidence rule “precludes the enforcement of inconsistent prior or

  contemporaneous agreements.” Jack H. Brown & Co. v. Toys “R” Us, Inc., 906 F.2d 169, 173 (5th

  Cir. 1990). However, the parol evidence rule “does not preclude enforcement of prior or

  contemporaneous agreements which are collateral to an integrated agreement and which are not

  inconsistent with and do not vary or contradict the express or implied terms or obligations thereof.”

  Hubacek v. Ennis State Bank, 317 S.W.2d 30, 32 (Tex. 1958).

         As a starting point, only the second NDU—executed on January 22, 2021—would trigger

  the parol evidence rule and thus bar enforcement of the alleged oral non-prosecution agreement.

  The first NDU was executed on December 12, 2019, (Dkt. #48, Exhibit 2), and Rodgers claims

  the oral agreement was not reached until about one year later—on or about December 9, 2020

  (Dkt. #50 at p. 6). Yet, the parol evidence rule only bars enforcement of prior or contemporaneous

  agreements; it does not apply to agreements made subsequent to the written agreement. Brumitt,

  519 S.W.3d at 111. Thus, only the second written NDU, executed on January 22, 2021, could

  trigger the parol evidence rule since the oral agreement was allegedly formed before the second

  written NDU was signed.

         Moreover, the second NDU is the type of agreement that triggers the parol evidence rule.

  It is a written agreement that is “integrated.” Indeed, it contains an integration or “merger” clause.

  See People’s Cap. & Leasing Corp. v. McClung, No. 4:18-CV-00877, 2020 WL 4464503, at *8

  (E.D. Tex. Aug. 4, 2020) (“A merger clause is a provision in a contract to the effect that the written

  terms may not be varied by prior or oral agreements because all such agreements have been merged

  into the written document.”) (internal quotations omitted). But, as well, by its own terms, it is

  integrated only as to the parties’ agreements relating to the subject matter it addresses—not as to

  all prior or contemporaneous agreements between the parties related to other matters. See West v.



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  Quintanilla, 573 S.W.3d 237, 244 (Tex. 2019) (“Although it is complete and final as to its subject

  matter, it does not purport to address or supersede agreements related to other matters.”). In this

  sense, the NDU is only partially integrated. The language in the NDU makes this clear. For

  example, it states:

         It is understood that this agreement is limited to statements made during the
         interview on January 27, 2021, and does not apply to any oral, written, or recorded
         statements made by you at any other time. This letter and the attached Addendum
         constitute the entire understanding between the United States and you in connection
         with this interview.

  (Dkt. #48, Exhibit 3) (emphasis added). Accordingly, though the NDU unambiguously states that

  it “constitute[s] the entire understanding between the United States and [Rodgers,]” it does so only

  in connection with the terms of the January 22, 2021, proffer meeting (See Dkt. #48, Exhibit 3).

  Thus, even though the NDU contains an integration clause, it does not foreclose the possibility

  that Rodgers and the Government reached another separate, unrelated agreement.

         This is significant because under the parol evidence rule, the written, integrated NDU only

  “precludes enforcement of any prior or contemporaneous agreement that addresses the same

  subject matter and is inconsistent with [the NDUs’] terms.” Id. at 244–45. Stated differently, the

  parol evidence rule does not preclude enforcement of a prior agreement that is “collateral to and

  not inconsistent” with the NDU. Id. at 245. Therefore, to determine if the parol evidence rule bars

  enforcement of the oral agreement, the Court must determine whether the alleged oral agreement

  was “collateral” to the NDU and whether it was “not inconsistent” with it. See id.

         Here, the Court finds that any alleged oral non-prosecution agreement was “collateral” to

  the second NDU. To be collateral, the agreement must be one the parties might naturally make

  separately and would not be ordinarily be expected to be embodied in or integrated with the written

  agreement and not so clearly connected with the principal transaction as to be part and parcel of



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  it. Boy Scouts of Am. v. Responsive Terminal Sys., Inc., 790 S.W.2d 738, 745 (Tex. App.—Dallas

  1990, writ withdrawn). Here, the NDU and the oral agreement addressed different subject matters.

  An NDU is generally “an agreement between an [individual] and the government in a criminal

  case that sets forth the terms under which the [individual] will provide information to the

  government during an interview, commonly referred to as a ‘proffer session.’” United States v.

  Lopez, 219 F.3d 343, 345 n.1 (4th Cir. 2000). On the other hand, a non-prosecution agreement is

  exactly what it sounds like—it is an agreement that states the Government will agree not to

  prosecute an individual if certain conditions are met (Dkt. #48-1 ¶3). Thus, the NDU agreement

  addressed the terms of the proffer session, while the alleged oral agreement would have addressed

  the terms of any protection from prosecution. Even in the Government’s own words, “[n]on-

  prosecution agreements differ markedly from NDUs” (Dkt. #48 at p. 4). Consequently, because

  the oral non-prosecution agreement was collateral to the written NDU, the Court must resolve

  whether the oral non-prosecution agreement was inconsistent with the terms of the NDU. See

  Quintanilla, 573 S.W.3d at 244–45. If the oral non-prosecution agreement was “not inconsistent”

  with the NDU, then the parol evidence rule will not preclude enforcement of the oral agreement.

  Id.

         The Court turns to the language of the NDU to determine if it is consistent with the alleged

  oral agreement that Rodgers would not be prosecuted if he continued to cooperate. In relevant

  part, the agreement states:

         3.      The United States agrees that no statement made by you during the
         interview will be used directly against you in any legal proceeding, except that your
         statements may be offered in any such proceeding to impeach your testimony or to
         rebut evidence offered on your behalf. In addition, the United States may use any
         statements made in the interview in a prosecution of you for making a false
         statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18
         U.S.C. § 1503, et seq.), or perjury (18 U.S.C. § 1621).



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         4.     The United States is free to use any information directly or indirectly
         derived from the interview to pursue its investigation and in any subsequent
         prosecution of you or others.

  (Dkt. #48, Exhibit 3). The language, particularly in paragraph four, broadly contemplates future

  prosecution of Rodgers. At first glance, this broad language appears to be inconsistent with the

  Government’s oral promise not to prosecute Rodgers. But, after a closer examination of the

  language, the Court reaches a different conclusion. Instead, the Court finds that the collateral oral

  agreement at issue is “not inconsistent” with the written NDU—even though the NDU

  contemplates future prosecution of Rodgers. Indeed, in Quintanilla, the Texas Supreme Court

  explored what “inconsistent” means in this context and found that when the oral agreement

  contradicts or varies the parties’ obligations under the written agreement, the oral agreement is an

  inconsistent collateral agreement. Id. at 247.

         Here, the alleged oral agreement does not vary the parties’ obligations under the written

  NDU. For one thing, the NDU does not specifically state that Rodgers is subject to a future

  prosecution; it simply states the Government can use the information from the interview in any

  subsequent prosecution (Dkt. #48, Exhibit 3). Further, the alleged oral agreement was not simply

  an agreement to not prosecute Rodgers—it was conditioned on his continued cooperation. Thus,

  just like the NDU contemplates future prosecution of Rodgers, so, too, does the alleged oral

  agreement—if Rodgers fails to continue to cooperate. As such, the oral agreement does not alter

  fundamental terms of the NDU.

         Consequently, because the alleged oral non-prosecution agreement is “collateral to and not

  inconsistent” with the second NDU, the parol evidence rule does not preclude enforcement of it.

  See id. at 245. Accordingly, since the parol evidence rule is not applicable, the Court now turns




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  to whether Rodgers has proved that there was a legally enforceable oral non-prosecution

  agreement.

         B. No Legally Enforceable Oral Non-Prosecution Agreement Was Reached.

         A defendant claiming to have a non-prosecution agreement bears the burden of “prov[ing]

  that such an agreement existed.” Jimenez, 256 F.3d at 347. “Non-prosecution agreements . . . are

  contractual in nature, and are therefore interpreted in accordance with general principles of

  contract law.” Castaneda, 162 F.3d at 835. Any “ambiguities” in a non-prosecution agreement

  “must be construed against the government.” McBride, 571 F. Supp. at 605. Because a non-

  prosecution agreement is governed by contract law standards, whether the parties reached an

  agreement is question of fact. Westlake Petrochemicals, L.L.C. v. United Polychem, Inc., 688 F.3d

  232, 238–39 (5th Cir. 2012). However, whether an agreement has all the essential terms to be an

  enforceable agreement is a question of law. Coe v. Chesapeake Expl., L.L.C., 695 F.3d 311, 320

  (5th Cir. 2012). In other words, Rodgers’ contention has both a factual dimension—namely,

  whether Rodgers and the Government agreed that the Government would not prosecute him if he

  cooperated—and a legal dimension—whether there was a meeting of minds on the agreement’s

  essential terms.

         Rodgers claims the oral agreement “that Rodgers would not be charged if Rodgers

  continued to cooperate, which included testifying at trial” was reached “on or about December 9,

  2020” (Dkt. #50 at p. 6). In other words, Rodgers argues that the basis for the oral agreement was

  Poe’s phone call with Lewis. Further, Rodgers asserts that the Government’s failure to deny the

  occurrence of the oral conversation and the Government’s failure to deny that an agreement was

  reached “is further proof to corroborate counsel’s declaration” (Dkt. #50 at p. 6). Indeed, the Court

  does find that the absence of any explicit denial of an oral agreement in Danks’ declaration is



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  telling. But the Court also notes that Rodgers bears the burden of proving an agreement existed,

  and he faces some difficult challenges.

         For example, contrary to Poe’s declaration, Danks declares that Lewis was not the attorney

  on the phone call on December 9, 2021, and the attorney on the phone call was not a supervisor of

  another attorney who worked on the investigation (Dkt. #48-1 ¶ 7). These statements both directly

  contradict Poe’s statements. While the name of the Government attorney who made the alleged

  agreement might seem like a minor detail, it does cast doubt on Poe’s “unequivocal[]” recollection

  of the events. See United States v. Casares, No. 2:14-653, 2019 WL 1243617, at *4 (S.D. Tex.

  Mar. 18, 2019) (singling out Defendant’s failure to “specify with whom he entered into this alleged

  agreement” in holding no oral non-prosecution agreement existed). Further, while Poe asserts an

  oral agreement was made, Danks declares that “[t]he Division’s general practice is that both NDUs

  and NPAs are written” (Dkt. #48-1 ¶ 3). Moreover, while Poe claims an oral non-prosecution was

  reached around December 9, 2020, Rodgers entered into a second written NDU with the

  Government after this that contained no mention of the oral agreement. The execution of the

  written NDU not only reinforces the Government’s claim that agreements like this are in writing,

  but it also indicates that the course of dealing between the parties was to put important agreements

  in writing.

         Even more telling, the Court finds it odd that Poe’s declaration does not mention that two

  written NDUs were executed. And, finally, looking at Poe’s declaration, the Court finds it

  noteworthy that when Poe was notified that the Government was now recommending prosecution,

  he never asserted that the change violated any alleged agreement. See United States v. Sattar, No.

  02-CR-395, 2003 WL 22510398, *3 (S.D.N.Y Nov. 5, 2003) (noting that if a non-prosecution

  agreement had been reached then Poe’s response upon learning of the indictment “should have



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  been an anguished howl of protest over the breach of the agreement.”) (internal quotations

  omitted).

         Nonetheless, even fully crediting Poe’s declaration and assuming arguendo that Rodgers

  has demonstrated the factual aspect of the alleged agreement, the Court finds that no agreement

  was reached as a matter of law. See Coe, 695 F.3d at 320 (“Whether an agreement fails for

  indefiniteness is a question of law.”). Indeed, a contract is “legally binding only if its terms are

  sufficiently definite to enable a court to understand the parties’ obligations.” Liberto v. D.F.

  Stauffer Biscuit Co., 441 F.3d 318, 323 (5th Cir. 2006) (internal quotations omitted). Stated

  differently, “when an agreement leaves material matters open for future adjustment and agreement

  that never occur, it is not binding upon the parties and merely constitutes an agreement to agree.”

  Coe, 695 F.3d at 320. To determine whether essential terms were sufficiently settled to find a

  contract, “[c]ourts look not only at any relevant written agreements but also at the relationship of

  the parties, [and] their course of dealings . . . .” APS Cap. Corp. v. Mesa Air Grp., Inc., 580 F.3d

  265, 272–73 (5th Cir. 2009).

         Here, no legally enforceable agreement was reached because there was no “meeting of the

  minds” on all essential terms. Even accepting Rodgers’ Poe’s declaration as the truth—“that

  Rodgers would not be charged if Rodgers continued to cooperate, which included testifying at

  trial”—the agreement nevertheless fails to contain essential terms. See id. at 272 (“[A]n agreement

  is not enforceable unless it resolves all essential terms and leaves no material matters open for

  future negotiation.”). Indeed, not every “meeting of the minds” is a contract. The minds may not

  have met on essential terms. When the parties leave an essential term open for future negotiation,

  there is no binding contract. T.O. Stanley Boot Co. v. Bank of El Paso, 847 S.W.2d 218, 221 (Tex.

  1992). Here, the alleged agreement contains no mention of essential terms like “what level of



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  cooperation would be required of [Rodgers] in order for h[im] to satisfy the purported [non-

  prosecution] agreement [and] who would determine whether [Rodgers] had fulfilled [his] part of

  the [] agreement.” See United States v. Lua, 990 F. Supp. 704, 711 (N.D. Iowa 1998); see also

  Commonwealth v. Stewart, No. 04-1409, 2004 WL 3455442, at *17 (Va. Cir. Ct. Oct. 22, 2004)

  (finding an absence of sufficient detail to prove a meeting of the minds). Absent such essential

  terms, there could be no meeting of the minds. That Rodgers now argues that he has lived up to

  his end of the agreement—by cooperating—and the Government disagrees illustrates how these

  details were material terms to the agreement. Undeniably, these details could change the outcome

  of the case. See United States v. Aleman, 286 F.3d 86, 92 (2d. Cir. 2002) (“A critical factual

  element of the alleged agreement will be who determines [Defendant]’s truthfulness and

  willingness to testify-the government, the court, or some other party.”).

         Further, examining the written NDUs, the relationship of the parties, their course of

  dealings, and other evidence only confirms there was no meeting of the minds as to the essential

  terms of the non-prosecution agreement. See Mesa, 580 F.3d 272–73. Indeed, when the agreement

  is oral, the court “must consider the possibility that immunity discussions . . . never progressed to

  a meeting of the minds and formation of an enforceable bargain.” Aleman, 286 F.3d at 89. That a

  final oral agreement was never reached is bolstered by the existence of two written NDUs. These

  objectively show the course of dealing between the parties—when the parties agreed to final and

  essential terms of a contract, they did so in writing. By contrast, the only evidence that Rodgers

  offers to show that an oral agreement was reached is subjective evidence—Poe’s declaration. But

  even Poe’s declaration supports the conclusion that no final agreement was ever reached. Indeed,

  Poe’s repeated conversations with the Government indicate that there was a possibility a deal could

  be made in the future, not that a final agreement already existed as to all essential terms. See Lua,



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    990 F. Supp at 711. For example, Poe acknowledges that he asked the Government about Rodgers’

    status several times. However, if there had been a prior meeting of the minds on all essential terms,

    then Poe’s inquiries would have been unnecessary. Thus, his repeated inquiries highlight that even

    he might have been unsure that there was a final agreement on the table.

           In short, the Court finds that Rodgers has failed to prove that essential terms of the

    agreement were sufficiently settled and definite. Indeed, the lack of detail regarding the terms of

    the alleged agreement highlight that the parties never reached a final agreement. And a court may

    not create an agreement where none exists. See Lamajak, Inc. v. Frazin, 230 S.W.3d 786, 793

    (Tex. App.—Dallas 2007, no pet.).        A defendant must establish something “more than an

    unfounded and unilateral belief” that the government made a claimed promise in exchange for his

    cooperation. United States v. Williams, 198 F.3d 988, 992 (7th Cir. 1999). Rodgers has not done

    so. Accordingly, because the Court concludes that there was no meeting of the minds as to the

    essential terms, the Court finds no non-prosecution agreement exists for the Court to enforce.

    Therefore, the Court denies Rodgers’ motion to dismiss on this ground.

                                             CONCLUSION

.          It is therefore ORDERED that Defendant Neeraj Jindal’s Motion to Dismiss Count One

    of the First Superseding Indictment (Dkt. #36) and Defendant John Rodgers’ Motion to Dismiss

    the Superseding Indictment (Dkt. #45) are hereby DENIED.

           IT IS SO ORDERED.
            SIGNED this 29th day of November, 2021.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE

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